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F!I.ED B”\" _” D_C,
IN THE UNITED STATES DISTRICT COURT

FoR THE w:~:'.sTERN DISTRICT oF TENNESSEE 05 J ` _ _
WESTERN DIVIsIoN UL 21 PH 3- 57

 

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MILLICENT P. HoLLINs, CLE&J:;DL(;L§§ H.Q:E{::IPSOUHT

Plaintiff,

v. No. 04“2805 Ml/P
METHODIST HEALTHCARE, INC.
d/b/a METHODIST UNIVERSITY
HOSPITAL,

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Defendant.

 

ORDER GRANTING DEFENDANT'S MDTION TO DISMISS FOR LACK OF SUBJECT
MATTER JURISDICTION

 

Before the Court is Defendant's Motion to Dismiss for Lack
of Subject Matter Jurisdiction, filed January 3, 2005. Plaintiff
responded in opposition on February 22, 2005. For the following
reasons, Defendant's motion is GRANTED and Plaintiff's case is
DISMISSED.

The instant case arises out of the termination of Plaintiff
Millicent P. Hollins’s employment as a resident in the Clinical
Pastoral Education (“CPE”) program administered by Defendant
Methodist Healthcare Inc. d/b/a Methodist University Hospital.
Plaintiff contends that her termination was in violation of the
Americans With Disabilities Act, 42 U.S.C. § 12101, et seq.
Defendant contends that this Court lacks subject matter
jurisdiction over Plaintiff’s claim because the constitutional

ministerial exception assertedly precludes this Court from

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exercising subject matter jurisdiction over claims involving the
employment relationship between a religious organization and its
ministerial employees. Plaintiff contends that Defendant has
waived its right to assert the ministerial exception as a defense
to a claim of discrimination under the ADA.
I. STANDARD OF REVIEW

Federal Rule of Civil Procedure 12(b)(1) allows a party to
move to dismiss a claim for lack of subject matter jurisdiction.
Fed. R. Civ. P. 12(b)(1). “A Rule lZ(b)(l) motion can either
attack the claim of [subject matter] jurisdiction on its face
or it can attack the factual basis for jurisdiction ....” QLXL
Inc. v. Kentucky, 381 F.Bd 511, 516 (6th Cir. 2004).

ln the instant case, the Court finds that Defendant attacks
the factual basis for jurisdiction ~ in particular, whether the
relevant facts support Defendant’s contention that this Court
lacks subject matter jurisdiction due to the constitutional
ministerial exception. When a Rule 12(b)(1) motion attacks the
factual basis for subject matter jurisdiction, “the trial court
must weigh the evidence and the plaintiff bears the burden of
proving that jurisdiction exists.” QL§, 381 F.3d at 516 (citing,
inter alia, RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d
1125, 1133-35 (6th Cir. 1996)). In reviewing a Rule 12(b)(1)
motion challenging the factual basis for jurisdiction, “a trial

court has wide discretion to allow affidavits, documents and even

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a limited evidentiary hearing to resolve disputed jurisdictional
facts.” Ohio Nat. Life lns. Co. v. United States, 922 F.Zd 320,
325 (6th Cir. 1990). If a court determines that it lacks subject
matter jurisdiction, “the court shall dismiss the action.” Fed.
R. Civ. P. 12(h)(3).

ln the instant case, both parties have attached exhibits to
their submissions, including declarations and other documents
relevant to the disposition of Defendant’s motion. The Court,
utilizing its discretion to allow the presentation of such
materials, has reviewed those materials submitted by the parties
in support of their respective contentions. The Court finds
that, because the resolution of Defendant's motion turns chiefly
upon the determination of a question of law, neither the
submission of additional materials nor a limited evidentiary
hearing would aid the Court in the resolution of Defendant’s
motion.
II. RELEVANT FACTS

The facts relevant to the disposition of Defendant's motion
are not in dispute. Defendant is a non-profit public benefit
corporation that was organized in 1925 by the North Arkansas,
Mississippir and Memphis Conferences of the United Methodist
Church. According to the Statement of Covenant Relationship
Between Methodist Healthcare and the North Arkansas, Mississippi

and Memphis Conferences of the United Methodist Church, “[t]he

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essential mission of Methodist Healthcare is to respond in the
spirit of God’s love to its patients, physicians, students,
Associates (employees) and officials, other institutions and the
community.” (Def.’s Mot. to Dismiss for Lack of Subj. Matter
Jur., Ex. 1.) According to Defendant’s Bylaws, Defendant “shall
be operated in accordance with the Social Principles of The
United Methodist Church.” (Id., EX. 3 at 1.) Defendant's
Associate Handbook further states that “Methodist Le Bonheur
Healthcare, in partnership with its medical staffs, will be the
leader in providing high guality, cost effective healthcare to
benefit the communities we serve. Services will be provided in a
manner, which supports the health ministries and Social
Principles of The United Methodist Church.” (Id., Ex. 4 at 5.)
Defendant is associated with the Conferences of the United
Methodist Church, which retains some control and powers over
Defendant,r including the power to approve of the sale of all or a
majority of Defendant's assets and the ability to elect nine
members of Defendant’s board of directors. (ld., Ex. 2 at 3; EX.
3 at 5.)

In August of 2002, Plaintiff was admitted into Defendant's
CPE Residency Program as a Resident Level II. (Pl.'s Compl. 1
T.) The CPE program is a form of theological education that

involves academic study and clinical education in settings where

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ministry is practiced. The job description for a CPE Resident

Level 11 is as follows:

The Student is responsible for providing pastoral care
and/or counseling to the age specific populations
including neonate, pediatric, adolescent, adult and
geriatric patients, family members, Associates, Medical
Staff and visitors associated with Methodist Hospitals
of Memphis. The Student provides spiritual care by
seeking to understand the relationship between faith,
illness, and the feelings and thoughts that motivate
healthy and meaningful use of each person’s beliefs and
attitudes. In keeping with this primary purpose, the
Student is expected to interpret the function of
his/her role to other hospital personnel by word and
action, to utilize available community resources for
the extension of this ministry, and to be an
educational and consultative resource to Methodist
Hospital of Memphis, Methodist Health Systems and the
broader Mid-South Community.

(Def.'s Mot. to Dismiss for Lack of Subj. Matter J., Exs. 7, 8.)
CPE residents are required to initiate pastoral visits with
patients and family members, (Id., Ex. 10), to be an on-call
primary chaplain during non-work hours for all Methodist health
care hospitals in the Memphis area (Id., Exs. 9, 10), and to lead
a Sunday worship service for patients, family and staff. (ld.)
As a term and condition of employment as a Resident II, all
residents are required to submit a report to their CPE Group and
its supervisor describing a dream they have experienced. (ld.,
Ex. 10.) According to Plaintiff, on or about May 16, 2003,
Plaintiff submitted her dream report to Dr. William R. Walker and

her CPE Group. On or about May 17, 2003, Dr. Walker prepared a

professional assessment of Ms. Hollins' dream which expressed

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concerns about Plaintiff’s mental health and recommended that she
be referred for a psychiatric evaluation and possible treatment.
On or about June 28, 2003, Plaintiff was discharged from her
position as a Resident 11 in the CPE program because she was,
according to Plaintiff, perceived as being a threat of harm to
Defendant’s workplace.l

Defendant is accredited by the Association of Clinical
Pastoral Education, lnc. (the “ACPE”), as operating an ACPE
accredited training center. (Pl.’s Resp. to Def.’s Rule 12(b)(1)
Mot. to Dismiss and Mot. to Stay, Ex. 1.) The ACPE is recognized
as a qualified accrediting agency in the field of clinical
pastoral education by the United States Secretary of Education.
(ld., Exs. 2, 3.) Institutions such as Defendant become eligible
for federal funds by virtue of being accredited by such an
organization. (Id., Ex. 4.)

The ACPE publishes standards for the conduct of its members.
lt also requires members to sign an “Accountability For Ethical
Conduct Policy Report Form” and to provide notice to the ACPE
Executive Director of any Complaint of unethical or felonious
conduct made against them in a civil, criminal, ecclesiastical,

employment, or other professional forum. (Id., Ex. 5 at 2.)

 

l Defendant maintains that Plaintiff was dismissed because
she was not a suitable candidate for the CPE program. (Def.'s
Mot. to Dismiss for Lack of Subj. Matter Jur., Ex. 12 (Dec. of
Renee DeRossitt), I 3.) Any dispute as to that fact, however, is
not material to the Court's resolution of Defendant's motion.

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ACPE Standard 101 states,r in relevant part, “[i]n
relationship to those served, ACPE members ... do not
discriminate against anyone because of race, gender, age, faith
group, national origin, sexual orientationr or disability.”

(ld., Ex. 5 at 3.) Further, ACPE Standard 304 states that
members shall “provide all policies and procedures in writing and
inform all students and ACPE program staff of their content.
These include, but are not limited to ... an admission policy
that clearly states the ACPE accredited center does not
discriminate against persons because of race, gender, age, faith
group, national origin, sexual discrimination, or disability

.” (Id., Ex. 6 at GJ

On October 7, 2004, Plaintiff filed the instant Complaint
alleging that Defendant violated the ADA by requiring her to
submit to an unlawful medical examination performed by a staff
psychologist who thereafter prepared a professional assessment of
her mental health for Defendant's review, and terminating her
because it regarded her as having a mental disability.

III . ANALYSIS

Defendant moves to dismiss Plaintiff’s Complaint for lack of
subject matter jurisdiction because the constitutional
ministerial exception assertedly precludes this Court from
exercising subject matter jurisdiction over claims involving the

employment relationship between a religious organization and its

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ministerial employees. Plaintiff contends that Defendant has
waived its right to assert the ministerial exception by seeking
and obtaining accreditation from the ACPE, whereby it represented
that it did not discriminate against anyone due to, inter alia,
disability. Alternatively,r Plaintiff moves the Court to stay its
ruling on Defendant’s motion to allow her to conduct limited
discovery related to the relationship between Defendant and the
ACPE.

The constitutional ministerial exception is rooted in the
First Amendment’s guarantee of religious freedom and generally
bars civil courts from reviewing decisions of religious
organizations relating to the employment of their ministers.
Lewis v. Seventh Day Adventists, 973 F.2d 940, 942-43 (6th Cir.
1992); see also Hutchinson v. Thomas, 739 F.Zd 392, 396 (6th Cir.
1986)(affirming dismissal of claim for lack of subject matter
jurisdiction where minister alleged that church misapplied
provisions of church law and forced him into retirement). A
civil court generally lacks subject matter jurisdiction over a
claim relating to the employment of a religious minister even
when a plaintiff alleges that the religious organization’s
decision was based upon a misapplication of its own procedures
and laws. ld;

The focus of the ministerial exception is on the action

taken by the employer, rather than the motivation for that

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action. Petruska v. Gannon Univ., 350 F.Supp.2d 666, 677
(W.D.Pa. 2004)(citing E.E.O.C. v. Catholic Univ. of America, 83
F.3d 455, 465 (D.C. Cir. 1996)). Accordingly, “[t]he exception
precludes any inquiry whatsoever into the reasons behind a
church’s ministerial employment decision.” EEOC v. Roman
Catholic Diocese of Raleigh, N.C., 213 F.3d 795, 801 (4th Cir.
2000). Numerous Circuit Courts of Appeal have noted the
importance of the ministerial exception to religious
institutions' right to freely exercise their faith. See e. .,
Bollard v. California Province of the Societv of Jesus, 196 F.3d
940, 946 (9th Cir. 1999)(“[T]he ministerial relationship lies so
close to the heart of the church that it would offend the Free
Exercise Clause simply to require the church to articulate a
religious justification for its personnel decision.”); Rayburn v.
General Conference of Seventh Dav Adventists, 772 F.Zd 1164, 1169
(4th Cir. 1985)(“In these sensitive areas, the state may no more
require a minimum basis in doctrinal reasoning than it may
supervise doctrinal content.”).

ln her response to Defendant's motion, Plaintiff does not
dispute whether she should be considered a ministerial employee
or that the ministerial exception generally applies to

Defendant;2 rather, Plaintiff only contends that Defendant has

 

2 Plaintiff’s concession notwithstanding, the Court finds
based upon the record that Plaintiff was a ministerial employee
and that Defendant may properly invoke the ministerial exception.

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waived its right to assert the ministerial exception by seeking
and obtaining accreditation from the ACPE, whereby it represented
that it did not discriminate against anyone due to, inter alia,
disability.

“[I]t is well established that courts closely scrutinize
waivers of constitutional rights, and ‘indulge every reasonable
presumption against a waiver.’” Sambo’s Restaurants, Inc. v.
Citv of Ann Arbor, 663 F.2d 686, 690 (6th Cir. l981}(citing Ae;na
lns. Co. v. Kennedv, 301 U.S. 389 (1937); Brewer v. Williams, 430
U.S. 387, 404 (1977)). “ln the First Amendment context the
evidence must be ‘clear and compelling’ that such rights were
waived.” ld; (citing Curtis Publishinq Co. v. Butts, 388 U.S.
130, 145 (1967); National Polvmer Products v. Borg-Warner, 641
F.2d 418 (6th Cir. 1981)). Moreover, as Plaintiff concedes (See
Pl.’s Resp. to Def.'s Rule 12(b)(l) Mot. to Dismiss and Mot. to
Stay at 6), a waiver of constitutional rights must be knowing and
voluntary. See K.M.C. Co. v. Irving Trust Co., 757 F.2d 752, 756
(6th Cir. 1985)(finding waiver of constitutional right to jury

trial must be knowing and voluntary).3

 

3 Some ambiguity exists as to the standard to apply
regarding the purported waiver of constitutional rights
applicable in civil litigation as opposed to those rights
necessary to preserve a fair trial in a criminal case. §§§ K.M.C.
Co. v. Irvinq Trust Co., 757 F.2d 752, 755-56 (6th Cir. 1985).
However, there is no persuasive authority that a lesser standard
than a knowing, voluntary waiver proved by clear and convincing
evidence would apply to the asserted waiver by Defendant of the
ministerial exception.

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In light of the presumption against waivers of
constitutional rights, the Court finds that Defendant did not
knowingly or voluntarily waive its constitutional right to be
free from judicial interference with the selection of its
ministers by seeking and obtaining ACPE accreditation. Plaintiff
points to no indication that Defendant knew or intended to waive
such rights by obtaining ACPE accreditation. Although
Defendant’s alleged failure to adhere to the ACPE
nondiscrimination clauses might have some effect upon its
accreditation by that agency, merely signing such an agreement
does not, in and of itself, indicate a knowing, voluntary waiver
of Defendant’s constitutional right to be free from judicial
interference with decisions relating to the employment of its
ministers. See. e.g. Petruska, 350 F.Supp. 2d at 667 (finding
university did not waive right to invoke ministerial exception
through representations that it was an equal opportunity employer
that did not discriminate against students).

In the alternative, Plaintiff moves to stay the Court's
ruling on Defendant’s motion “until such time that Plaintiff is
allowed to supplement this response following a reasonable period
of discovery limited to the relationship between Defendant and
the Association for Clinical Pastoral Education, lnc., its
adherence to the Association's Standards and Accreditation

manuals and its receipt of Federal funds from the U.S. Department

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of Education as an accredited CPE Center.” (Pl.'s Resp. to
Def.'s Rule 12(b)(1) Motion to Dismiss and Pl.'s Mot. to Stay at
1-2.) As noted, however, signing the nondiscrimination clause in
order to receive ACPE accreditation does not indicate a waiver of
Defendant's constitutional right to be free from judicial
interference with respect to decisions relating to the employment
of its ministers. Further discovery regarding this issue would
not alter the Court’s determination. Defendant’s motion to
dismiss Plaintiff’s claim for lack of subject matter jurisdiction
is therefore GRANTED and Plaintiff's claim is DISMISSED.

IV. CONCLUSION

For the reasons stated, Defendant's motion to dismiss for
lack of subject matter jurisdiction is GRANTED and Plaintiff's

Claim is DISMISSED.

So ORDERED this é| twy of July, 2005.

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JO P. MCCALLA
U ITED STATES DlSTRlCT JUDGE

 

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David P. J aqua

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Honorable J on McCalla
US DISTRICT COURT

